             Case 2:17-cv-00853-RSL Document 162 Filed 05/29/19 Page 1 of 2




 1                                                      THE HONORABLE ROBERT S. LASNIK
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
      MICHAEL MOI, an individual,
 9                                                  No. 2:17-cv-00853-RSL
                           Plaintiff,
10                                                  ORDER GRANTING DEFENDANTS’
             v.                                     SECOND MOTION TO SEAL
11                                                  PLAINTIFF’S RESPONSIVE FILINGS
      CHIHULY STUDIO, INC., a Washington
12    corporation; DALE CHIHULY,
      individually and as a married person;
13    LESLIE CHIHULY, individually and as a
      married person,
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                           Defendants.
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      CHIHULY, INC., a Washington
16    corporation; and DALE CHIHULY,
      individually,
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                           Counterclaim-
18                         Plaintiffs,
19           v.
20    MICHAEL MOI, an individual,
21                         Counterclaim-
                           Defendant
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            This matter came before the Court on defendants’ “Motion to Seal (Attachments to Moi’s
24
     Opposition to Motion to Exclude Expert Testimony of Barbara Blades-Lines).” Dkt. # 158.
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     ORDER GRANTING DEFENDANTS’ SECOND
     MOTION TO SEAL PLAINTIFF’S RESPONSIVE
     FILINGS – 1
               Case 2:17-cv-00853-RSL Document 162 Filed 05/29/19 Page 2 of 2




 1   Having considered the motion, plaintiff’s response, and the underlying responsive documents,
 2   the Court finds as follows:
 3           1.      The good cause standard applies to the sealing of the exhibits at issue because the
 4   admissibility of expert testimony is not dispositive; and
 5           2.      Good cause exists to seal the exhibits.
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 7   The Motion to Seal is therefore GRANTED, and Dkt. #153 shall remain under seal. In response
 8   to counsel’s rhetorical question (Dkt. #160 at 2), plaintiff is hereby advised that, if he intends to
 9   file documents that defendants have designated as confidential, he must file a motion to seal
10   (thereby allowing the document to be sealed without prior court approval pending resolution of
11   the seal issue): it will be defendants’ burden to show in response that a seal is appropriate. LCR
12   5(g)(2) and (3).
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             Dated this 29th day of May, 2019.
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18                                                  Robert S. Lasnik
                                                    United States District Judge
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     ORDER GRANTING DEFENDANTS’
     MOTION TO SEAL PLAINTIFF’S
     RESPONSIVE FILINGS – 2
